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 1
                                  UNITED STATES DISTRICT COURT
 2
                                       DISTRICT OF NEVADA
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 4
     UNITED STATES OF AMERICA,
 5
             Plaintiff,                                 Case No. 2:16-CR-00305-KJD-VCF
 6
     v.
 7
     KAREEN ANDERSON,                                   ORDER
 8
             Defendant.
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             Before the Court for consideration are Defendant’s Motions to Dismiss Count Two pursuant
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     to Fed. R. Crim. P. 12 (#71) and Count Five (#73). The Government filed a response in opposition
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     (#76) to which Defendant did not reply.
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             Count Two of the Indictment charges that on or about June 2, 2016, Defendant and separately
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     charged co-defendants Robert Tellye Smith, Derrick James Haywood, Dimitius Rivers, and others
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     known and unknown to the grand jury, aiding and abetting one another, knowingly and intentionally
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     distributed 5 grams or more of actual methamphetamine in violation of 21 U.SC. §§ 841(a)(1) and
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     (b)(1)(A)(viii) and B(1)(b)(viii). Defendant alleges that Count Two should be dismissed because
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     “[t]here is no clear and convincing facts that establish the defendant committed a violation of 18
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     U.S.C.§ 2 and 18 U.S.C. § 8411.” (# 71, p. 2, lines 9-10). Defendant also alleges that Count Two is
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     defective based on selective or vindictive prosecution; joining two or more offenses in the same
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     count; charging the same offense in more than one count; lack of specificity; and improper joinder.
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     (# 71, p. 2, lines 11-27).
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             Count Five of the Indictment charges that on or about September 12, 2016, Defendant
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     knowingly distributed 50 grams or more of actual methamphetamine in violation of 21 U.S.C. §§ 841
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 1   (a)(1) and (b)(1)(A)(viii). Defendant alleges that he never distributed anything and incorrectly

 2   alleges that Count Five contains insufficient probable cause. (#73).

 3          Having read and considered the present Motions and response, the Court finds no support for

 4   dismissal of Counts Two and Five. Defendant fails to cite any points and authorities in support of

 5   dismissing Counts Two and Five. LCR 47-9 states “[t]he failure of the moving party to file points

 6   and authorities in support of the motion shall constitute a consent to the denial of the motion.”

 7   Further, Defendant has failed to provide any legal basis to support either motion.

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            Accordingly, IT IS THEREFORE ORDERED that Defendant’s Motions to Dismiss Count
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     Two pursuant to Fed. R. Crim. P. 12 (#71) and Count Five (#73) are DENIED.
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12                      2nd day of May 2017.
            DATED this ______

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                                                   Kent J. Dawson
15                                                 United States District Judge

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